
60 N.Y.2d 670 (1983)
In the Matter of the Claim of Garland D. Gates, Claimant,
v.
McBride Transportation, Inc., et al., Respondents. Workers' Compensation Board, Appellant.
Court of Appeals of the State of New York.
Decided September 27, 1983.
Robert Abrams, Attorney-General (Peter H. Schiff, Carlin Meyer and Diane Ciccone of counsel), for appellant.
Thomas J. Spargo and Raymond C. Green for respondents.
Chief Judge COOKE and Judges JASEN, JONES, WACHTLER, MEYER and SIMONS concur.
*671MEMORANDUM.
The order of the Appellate Division should be reversed, with costs, and the determination of the Workers' Compensation Board reinstated.
A finding of fact made by the Workers' Compensation Board is considered conclusive on the courts if supported by substantial evidence (Matter of Axel v Duffy-Mott Co., 47 N.Y.2d 1, 6). In this case, the board's finding that the claimant's heart attack was causally related to his employment was supported by substantial evidence: claimant's own testimony that he was irritated by a phone call he received, requiring him to redo an entire morning's work, and the fact that claimant experienced the heart attack very shortly after the phone call. In addition, there was medical testimony as to the causal relationship. Inasmuch as there was substantial evidence to support the determination of the board, the Appellate Division erred in reversing that determination.
On review of submissions pursuant to rule 500.2 (b) of the Rules of the Court of Appeals (22 NYCRR 500.2 [g]), order reversed, with costs, and decision of the Workers' Compensation Board reinstated in a memorandum.
